     Case 1:17-cv-00916-RA-BCM Document 17-1 Filed 04/10/17 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

TONY KHOURY, Individually and on             Case No. 1:17-cv-00916-RA
Behalf of All Others Similarly Situated,

                              Plaintiff,

              v.

FXCM INC., DROR NIV, and ROBERT
LANDE,

                              Defendants.

YING ZHAO, Individually and on Behalf        Case No. 1:17-cv-00955-UA
of All Others Similarly Situated,

                              Plaintiff,

v.

FXCM INC., DROR NIV, and ROBERT
LANDE,

                               Defendants.
DAVID BLINN, Individually and on Behalf      Case No. 1:17-cv-01028-RA
of All Others Similarly Situated,

                              Plaintiff,

              v.

FXCM INC., DROR NIV, and ROBERT
LANDE,

                              Defendants.
683 CAPITAL PARTNERS, L.P.,                  Case No. 1:17-cv-02506-UA
Individually and on Behalf of All Others
Similarly Situated,

                              Plaintiff,

                              v.

GLOBAL BROKERAGE, INC. f/k/a
   Case 1:17-cv-00916-RA-BCM Document 17-1 Filed 04/10/17 Page 2 of 3




FXCM INC., DROR NIV, and ROBERT
LANDE,

                       Defendants.




    [PROPOSED] ORDER GRANTING OF THOMAS KELLY’S MOTION FOR
       CONSOLIDATION OF RELATED ACTIONS, APPOINTMENT AS
          LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL
      Case 1:17-cv-00916-RA-BCM Document 17-1 Filed 04/10/17 Page 3 of 3




       Having considered the motion of Thomas Kelly for appointment as lead plaintiff and

approval of lead counsel (the “Motion”), and good cause appearing, the Court ORDERS as

follows:

       1.     The Motion is GRANTED;

       2.     The above-captioned actions are consolidated pursuant to Federal Rule of Civil

Procedure 42(a) as In re FXCM Inc. Securities Litigation, Master File No. 1:17-cv-00916-RA.

       3.     The Court, having considered the provisions of the Private Securities Litigation

Reform Act of 1995, 15 U.S.C. §77z-1(a)(3)(B) and 15 U.S.C. §78u-4(a)(3)(B), appoints

Thomas Kelly as Lead Plaintiff; and

       4.     Pursuant to 15 U.S.C. §77z-1(a)(3)(B)(v) and 15 U.S.C. §78u-4(a)(3)(B)(v),

Glancy Prongay & Murray LLP and Bragar Eagle & Squire P.C. are appointed as Co-Lead

Counsel for the Class.


       IT IS SO ORDERED.



Dated: __________________, 2017            ________________________________________
                                           THE HON. RONNIE ABRAMS
                                           UNITED STATES DISTRICT JUDGE




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